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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                   :
 UNITED STATES OF AMERICA                          :       Case No.
                                                   :       3:21-CR-220 (VAB)
        v.                                         :
                                                   :
 MAHESH PATEL, ROBERT HARVEY,                      :
 HARPREET WASAN, STEVEN                            :
 HOUGHTALING, TOM EDWARDS, and                     :
 GARY PRUS,                                        :
                                                   :       April 27, 2023
                 Defendants.                       :
                                                   :

  DEFENDANTS’ JOINT MOTION TO STRIKE THE GOVERNMENT’S SUR-REPLY

       Defendants Mahesh Patel, Robert Harvey, Harpreet Wasan, Steven Houghtaling, Tom

Edwards, and Gary Prus (collectively, “Defendants”) respectfully move to strike the inappropriate

and unauthorized sur-reply filed by the government in response to Defendants’ Joint Motion for

Judgment of Acquittal. (See ECF No. 596.)

       Pursuant to D. Conn. Local Civil Rule 7(a)(d), incorporated by Local Criminal Rule 1(c),

“[n]o sur-replies may be filed without permission of the Court, which may, in its discretion, grant

permission upon a showing of good cause.” In addition, this Court’s pretrial practices state that

“sur-reply briefs are rarely necessary, even in complex cases,” and indicate that His Honor “expects

that any subsequent briefing will be accompanied by a motion for permission to file.”

       Even if the government had sought permission to file a sur-reply, which it has not, its belated

filing cannot meet the “good cause” standard set forth in the Local Rules. The bulk of the

government’s sur-reply, which responds to Defendants’ ancillary restraints arguments discussed at

the hearing on April 25 and in Defendants’ opening brief, is not responsive to the points set forth

in Defendants’ reply, and—as a 13-page brief, significant portions of which are single spaced, filed
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49 minutes after Defendants’ [eight] page reply—was clearly drafted in advance of the filing of

Defendants’ reply as an attempt to compensate for the government’s failure to address these issues

adequately in its opposition memorandum. In addition, the sur-reply includes unwarranted attacks

on the Court’s prior rulings and the incredible assertion that the Court is responsible for the

government’s evidentiary failures, rendering it not only procedurally but also substantively

improper. Such gamesmanship is unbecoming of the government and should not be countenanced.

        For these reasons, Defendants request that the brief be stricken from the record in its

entirety.

                                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 27, 2023, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone

unable to accept electronic filing.   Parties may access this filing through the Court’s CM/ECF

system.



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